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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                                      Case No. 23-CR-044-JFH-04

 SAVANNA JADE LOPEZ,

                       Defendants.


                 UNITED STATES’ RESPONSE TO SAVANNA LOPEZ’S
                      MOTION FOR SENTENCING VARIANCE

       COMES NOW the plaintiff, the United States of America, by and through Christopher J.

Wilson, United States Attorney, and Erin A. Cornell, Assistant United States Attorney, and

responds to defendant Savanna Lopez’s Motion for Sentencing Variance. For the reasons set forth

below, the government does not object to the defendant’s request for a downward variance.

                                      I.    Background

       Between October 2021 and October 2022, the defendant, members of her family, and a

family associate purchased 107 firearms from four licensed firearms retailers in the Tahlequah and

Muskogee areas. For each purchase, the defendants executed a Department of Justice ATF Form

4473, Firearms Transaction Record to the effect that they were the actual buyer of the firearm

indicated on the Form 4473. In an indictment filed on March 8, 2023, the government alleged that

as to each firearm transaction the defendants knew that they were not the actual buyer of the

firearm. Defendant Savanna Lopez was alleged to have personally purchased 22 firearms.

       On August 30, 2023, the defendant pleaded guilty to Count Seven of the indictment,

without a plea agreement. The government will dismiss Counts Fifteen and Twenty-Three at the

time of sentencing.
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       The Presentence Investigation Report (PSR) calculates the defendant’s advisory guidelines

range as 8 to 14 months, based on a Total Offense Level of 11 and Criminal History Category I.

This range is in Zone B of the Sentencing Table. The defendant asks the Court to vary downward

and sentence her to time served.

       For the reasons set forth below, the government agrees with the Probation Office’s

calculation of the defendant’s advisory guidelines range. Nevertheless, the government does not

object to the defendant’s request for a downward variance.

                                       II.    Argument

       The defendant is asking the Court to vary downward and sentence her to time served. The

government does not object to the defendant’s request for a downward variance, as such a request

here is supported by the Section 3553(a) factors.

       The defendant has no prior arrests or convictions. She is married to co-defendant Eric

Jesus Lopez and purchased the firearms at his request. She was last employed in 2020 and is

currently unable to work due to a number of health issues. While the government in no way is

trying to downplay the seriousness of the defendant’s crime – unlawfully purchasing firearms –

the defendant has been and will continue to be deterred from committing future crimes, as reflected

by her lack of criminal history and, going forward, her felony status due to the instant conviction.

Varying downward from the guidelines here will still provide a sentence that is sufficient but not

greater than necessary to comply with the purposes set forth in Section 3553(a).

       Furthermore, as demonstrated in the PSR, the defendants, including Savanna Lopez,

quickly cooperated with law enforcement by agreeing to interviews, which were integral to the

overall investigation. Although defendants obtained one continuance of trial, this was due to the

size of the discovery production and was not because of the defendants’ hesitancy to plead guilty.
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                                     III.   Conclusion

       For the reasons set forth herein, the government does not object to the defendant’s request

for a downward variance.

                                                    Respectfully submitted,

                                                    CHRISTOPHER J. WILSON
                                                    United States Attorney

                                            s/      Erin A. Cornell
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2024, I electronically transmitted the attached document to
the Clerk of Court using the ECF System for filing. Based on the records currently on file, the
Clerk of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

       Meredith Curnutte, Attorney for Defendant Eric Lopez


                                             s/      Erin A. Cornell
                                                     ERIN A. CORNELL
                                                     Office of United States Attorney
